Case 1:25-cv-00128-JJM-LDA          Document 35-8       Filed 04/11/25     Page 1 of 20 PageID
                                          #: 1030



                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND

  STATE OF RHODE ISLAND; STATE OF
  NEW YORK; STATE OF HAWAI’I’ STATE
  OF ARIZONA; STATE OF CALIFORNIA;
  STATE OF COLORADO; STATE OF
  CONNECTICUT; STATE OF DELAWARE;                   Case No. 1:25-cv-128
  STATE OF ILLINOIS; STATE OF MAINE;
  STATE OF MARYLAND;
  COMMONWEALTH OF
  MASSACHUSETTS; PEOPLE OF THE
  STATE OF MICHIGAN; STATE OF
  MINNESOTA; STATE OF NEVADA;
  STATE OF NEW JERSEY; STATE OF NEW
  MEXICO; STATE OF OREGON; STATE OF
  VERMONT; STATE OF WASHINGTON;
  STATE OF WISCONSIN;

                                Plaintiffs,

             v.

  DONALD J. TRUMP, in his official capacity
  as President of the United States; INSTITUTE
  OF MUSEUM AND LIBRARY SERVICES;
  KEITH E. SONDERLING, in his official
  capacity as Acting Director of the Institute of
  Museum and Library Services; MINORITY
  BUSINESS AND DEVELOPMENT
  AGENCY; MADIHA D. LATIF, in her
  official capacity as Deputy Under Secretary of
  Commerce for Minority Business
  Development; HOWARD LUTNICK, in his
  official capacity as Secretary of Commerce;
  FEDERAL MEDIATION AND
  CONCILIATION SERVICE; GREG
  GOLDSTEIN, in his official capacity as
  Acting Director of the Federal Mediation and
  Conciliation Service; OFFICE OF
  MANAGEMENT AND BUDGET; RUSSELL
  T. VOUGHT, in his official capacity as
  Director of the Office of Management and
  Budget
                                 Defendants.




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Case 1:25-cv-00128-JJM-LDA            Document 35-8       Filed 04/11/25      Page 2 of 20 PageID
                                            #: 1031



                     SUPPLEMENTAL DECLARATION OF ANIND DEY

      I, Anind Dey, hereby declare:

         1.     I am a resident of the State of Washington. I am over the age of 18, competent to

 testify as to the matters herein, and make this declaration based on my personal knowledge, except

 as to those matters stated upon information and belief. If called as a witness, I could and would

 testify competently to the matters set forth below.

         2.     I previously provided a declaration in this case attesting to the IMLS funds received

 by the University of Washington iSchool faculty. See ECF No. 3-33.

         3.     On April 9, 2025, iSchool faculty members that received funding from IMLS began

 receiving Notices of Grant Terminations. Of the IMLS grants that supported iSchool faculty’s

 work and scholarship, eight have been terminated as of the signing of this declaration.

         4.     Based on my review of the termination notices, each contains the same language

 explaining why the grants have been terminated. The notices state that the terminated grants are

 “no longer consistent with the agency’s priorities and no longer serves the interest of the United

 States and the IMLS Program.” The notices also indicate that the “IMLS is repurposing its funding

 allocations in a new direction in furtherance of the President’s agenda” and that the President’s

 Executive Order mandates that IMLS “eliminate all non-statutorily required activities and

 functions.”

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Case 1:25-cv-00128-JJM-LDA          Document 35-8       Filed 04/11/25      Page 3 of 20 PageID
                                          #: 1032



        5.      A true and correct copy of the termination notices received by iSchool faculty is

 attached hereto as Exhibit A.

        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

                                                         Seattle
        DATED and SIGNED this 11th day of April 2025, at ___________, Washington.




                                                ANIND DEY, PH.D.




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Case 1:25-cv-00128-JJM-LDA   Document 35-8   Filed 04/11/25   Page 4 of 20 PageID
                                   #: 1033




                     Exhibit A
Case 1:25-cv-00128-JJM-LDA               Document 35-8          Filed 04/11/25       Page 5 of 20 PageID
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                                                  #: 1035




INSTITUTE OF MUSEUM AND LIBRARY SERVICES

NOTICE OF GRANT TERMINATION

April 8, 2025

Hala Annabi, Carol Rhodes

hpannabi@uw.edu, osp@uw.edu




Dear IMLS Grantee,

This letter provides notice that the Institute of Museum and Library Services (IMLS) is terminating your federal grant
(Grant Application No. RE-252303-OLS-22) effective April 8, 2025, in accordance with the termination clause in
your Award Agreement.

Upon further review, IMLS has determined that your grant is unfortunately no longer consistent with the agency’s
priorities and no longer serves the interest of the United States and the IMLS Program. IMLS is repurposing its
funding allocations in a new direction in furtherance of the President’s agenda. Independently and secondly, the
President’s March 14, 2025 executive order mandates that the IMLS eliminate all non-statutorily required activities
and functions. See Continuing the Reduction of the Federal Bureaucracy, E.O. 14238 (Mar. 14, 2025). Therefore, the
IMLS hereby terminates your grant in its entirety effective April 8, 2025.

Please remember that your obligations under the Grant Agreement continue to apply. An audit may be conducted by
IMLS after the termination of the agreement.

Please contact grant-notices@imls.gov with only urgent questions. We wish you well.




Sincerely,

/s/ Keith Sonderling

Keith Sonderling

Acting Director

ksonderling@imls.gov

955 L’Enfant Plaza SW #4000, Washington, DC 20024
Case 1:25-cv-00128-JJM-LDA               Document 35-8          Filed 04/11/25       Page 7 of 20 PageID
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                                                  #: 1037




INSTITUTE OF MUSEUM AND LIBRARY SERVICES

NOTICE OF GRANT TERMINATION

April 8, 2025

Jason Yip, Carol Rhodes

jcyip@uw.edu, osp@uw.edu




Dear IMLS Grantee,

This letter provides notice that the Institute of Museum and Library Services (IMLS) is terminating your federal grant
(Grant Application No. LG-256571-OLS-24) effective April 8, 2025, in accordance with the termination clause in
your Award Agreement.

Upon further review, IMLS has determined that your grant is unfortunately no longer consistent with the agency’s
priorities and no longer serves the interest of the United States and the IMLS Program. IMLS is repurposing its
funding allocations in a new direction in furtherance of the President’s agenda. Independently and secondly, the
President’s March 14, 2025 executive order mandates that the IMLS eliminate all non-statutorily required activities
and functions. See Continuing the Reduction of the Federal Bureaucracy, E.O. 14238 (Mar. 14, 2025). Therefore, the
IMLS hereby terminates your grant in its entirety effective April 8, 2025.

Please remember that your obligations under the Grant Agreement continue to apply. An audit may be conducted by
IMLS after the termination of the agreement.

Please contact grant-notices@imls.gov with only urgent questions. We wish you well.




Sincerely,

/s/ Keith Sonderling

Keith Sonderling

Acting Director

ksonderling@imls.gov

955 L’Enfant Plaza SW #4000, Washington, DC 20024
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                                                 #: 1039




INSTITUTE OF MUSEUM AND LIBRARY SERVICES

NOTICE OF GRANT TERMINATION

April 8, 2025

Jason Yip, Carol Rhodes

jcyip@uw.edu, osp@uw.edu




Dear IMLS Grantee,

This letter provides notice that the Institute of Museum and Library Services (IMLS) is terminating your federal grant
(Grant Application No. LG-252291-OLS-22) effective April 8, 2025, in accordance with the termination clause in
your Award Agreement.

Upon further review, IMLS has determined that your grant is unfortunately no longer consistent with the agency’s
priorities and no longer serves the interest of the United States and the IMLS Program. IMLS is repurposing its
funding allocations in a new direction in furtherance of the President’s agenda. Independently and secondly, the
President’s March 14, 2025 executive order mandates that the IMLS eliminate all non-statutorily required activities
and functions. See Continuing the Reduction of the Federal Bureaucracy, E.O. 14238 (Mar. 14, 2025). Therefore, the
IMLS hereby terminates your grant in its entirety effective April 8, 2025.

Please remember that your obligations under the Grant Agreement continue to apply. An audit may be conducted by
IMLS after the termination of the agreement.

Please contact grant-notices@imls.gov with only urgent questions. We wish you well.




Sincerely,

/s/ Keith Sonderling

Keith Sonderling

Acting Director

ksonderling@imls.gov

955 L’Enfant Plaza SW #4000, Washington, DC 20024
Case 1:25-cv-00128-JJM-LDA              Document 35-8          Filed 04/11/25        Page 11 of 20 PageID
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                                                 #: 1041




INSTITUTE OF MUSEUM AND LIBRARY SERVICES

NOTICE OF GRANT TERMINATION

April 8, 2025

Jin Ha Lee, Carol Rhodes

Jinhalee@uw.edu, osp@uw.edu




Dear IMLS Grantee,

This letter provides notice that the Institute of Museum and Library Services (IMLS) is terminating your federal grant
(Grant Application No. LG-256564-OLS-24) effective April 8, 2025, in accordance with the termination clause in
your Award Agreement.

Upon further review, IMLS has determined that your grant is unfortunately no longer consistent with the agency’s
priorities and no longer serves the interest of the United States and the IMLS Program. IMLS is repurposing its
funding allocations in a new direction in furtherance of the President’s agenda. Independently and secondly, the
President’s March 14, 2025 executive order mandates that the IMLS eliminate all non-statutorily required activities
and functions. See Continuing the Reduction of the Federal Bureaucracy, E.O. 14238 (Mar. 14, 2025). Therefore, the
IMLS hereby terminates your grant in its entirety effective April 8, 2025.

Please remember that your obligations under the Grant Agreement continue to apply. An audit may be conducted by
IMLS after the termination of the agreement.

Please contact grant-notices@imls.gov with only urgent questions. We wish you well.




Sincerely,

/s/ Keith Sonderling

Keith Sonderling

Acting Director

ksonderling@imls.gov

955 L’Enfant Plaza SW #4000, Washington, DC 20024
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                                                 #: 1043




INSTITUTE OF MUSEUM AND LIBRARY SERVICES

NOTICE OF GRANT TERMINATION

April 8, 2025

Marika Cifor, Carol Rhodes

mcifor@uw.edu, osp@uw.edu




Dear IMLS Grantee,

This letter provides notice that the Institute of Museum and Library Services (IMLS) is terminating your federal grant
(Grant Application No. LG-256575-OLS-24) effective April 8, 2025, in accordance with the termination clause in
your Award Agreement.

Upon further review, IMLS has determined that your grant is unfortunately no longer consistent with the agency’s
priorities and no longer serves the interest of the United States and the IMLS Program. IMLS is repurposing its
funding allocations in a new direction in furtherance of the President’s agenda. Independently and secondly, the
President’s March 14, 2025 executive order mandates that the IMLS eliminate all non-statutorily required activities
and functions. See Continuing the Reduction of the Federal Bureaucracy, E.O. 14238 (Mar. 14, 2025). Therefore, the
IMLS hereby terminates your grant in its entirety effective April 8, 2025.

Please remember that your obligations under the Grant Agreement continue to apply. An audit may be conducted by
IMLS after the termination of the agreement.

Please contact grant-notices@imls.gov with only urgent questions. We wish you well.




Sincerely,

/s/ Keith Sonderling

Keith Sonderling

Acting Director

ksonderling@imls.gov

955 L’Enfant Plaza SW #4000, Washington, DC 20024
Case 1:25-cv-00128-JJM-LDA              Document 35-8          Filed 04/11/25        Page 15 of 20 PageID
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                                                 #: 1045




INSTITUTE OF MUSEUM AND LIBRARY SERVICES

NOTICE OF GRANT TERMINATION

April 8, 2025

Marika Cifor, Adelia Yee, Carol Rhodes

mcifor@uw.edu, ayee@uw.edu, osp@uw.edu




Dear IMLS Grantee,

This letter provides notice that the Institute of Museum and Library Services (IMLS) is terminating your federal grant
(Grant Application No. RE-252305-OLS-22) effective April 8, 2025, in accordance with the termination clause in
your Award Agreement.

Upon further review, IMLS has determined that your grant is unfortunately no longer consistent with the agency’s
priorities and no longer serves the interest of the United States and the IMLS Program. IMLS is repurposing its
funding allocations in a new direction in furtherance of the President’s agenda. Independently and secondly, the
President’s March 14, 2025 executive order mandates that the IMLS eliminate all non-statutorily required activities
and functions. See Continuing the Reduction of the Federal Bureaucracy, E.O. 14238 (Mar. 14, 2025). Therefore, the
IMLS hereby terminates your grant in its entirety effective April 8, 2025.

Please remember that your obligations under the Grant Agreement continue to apply. An audit may be conducted by
IMLS after the termination of the agreement.

Please contact grant-notices@imls.gov with only urgent questions. We wish you well.




Sincerely,

/s/ Keith Sonderling

Keith Sonderling

Acting Director

ksonderling@imls.gov

955 L’Enfant Plaza SW #4000, Washington, DC 20024
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                                                 #: 1047




INSTITUTE OF MUSEUM AND LIBRARY SERVICES

NOTICE OF GRANT TERMINATION

April 8, 2025

Nicholas Weber, Carol Rhodes

nmweber@uw.edu, osp@uw.edu




Dear IMLS Grantee,

This letter provides notice that the Institute of Museum and Library Services (IMLS) is terminating your federal grant
(Grant Application No. RE-252290-OLS-22) effective April 8, 2025, in accordance with the termination clause in
your Award Agreement.

Upon further review, IMLS has determined that your grant is unfortunately no longer consistent with the agency’s
priorities and no longer serves the interest of the United States and the IMLS Program. IMLS is repurposing its
funding allocations in a new direction in furtherance of the President’s agenda. Independently and secondly, the
President’s March 14, 2025 executive order mandates that the IMLS eliminate all non-statutorily required activities
and functions. See Continuing the Reduction of the Federal Bureaucracy, E.O. 14238 (Mar. 14, 2025). Therefore, the
IMLS hereby terminates your grant in its entirety effective April 8, 2025.

Please remember that your obligations under the Grant Agreement continue to apply. An audit may be conducted by
IMLS after the termination of the agreement.

Please contact grant-notices@imls.gov with only urgent questions. We wish you well.




Sincerely,

/s/ Keith Sonderling

Keith Sonderling

Acting Director

ksonderling@imls.gov

955 L’Enfant Plaza SW #4000, Washington, DC 20024
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                                                 #: 1049




INSTITUTE OF MUSEUM AND LIBRARY SERVICES

NOTICE OF GRANT TERMINATION

April 8, 2025

Stacey Wedlake, Carol Rhodes

staceyaw@uw.edu, osp@uw.edu




Dear IMLS Grantee,

This letter provides notice that the Institute of Museum and Library Services (IMLS) is terminating your federal grant
(Grant Application No. LG-256579-OLS-24) effective April 8, 2025, in accordance with the termination clause in
your Award Agreement.

Upon further review, IMLS has determined that your grant is unfortunately no longer consistent with the agency’s
priorities and no longer serves the interest of the United States and the IMLS Program. IMLS is repurposing its
funding allocations in a new direction in furtherance of the President’s agenda. Independently and secondly, the
President’s March 14, 2025 executive order mandates that the IMLS eliminate all non-statutorily required activities
and functions. See Continuing the Reduction of the Federal Bureaucracy, E.O. 14238 (Mar. 14, 2025). Therefore, the
IMLS hereby terminates your grant in its entirety effective April 8, 2025.

Please remember that your obligations under the Grant Agreement continue to apply. An audit may be conducted by
IMLS after the termination of the agreement.

Please contact grant-notices@imls.gov with only urgent questions. We wish you well.




Sincerely,

/s/ Keith Sonderling

Keith Sonderling

Acting Director

ksonderling@imls.gov

955 L’Enfant Plaza SW #4000, Washington, DC 20024
